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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

AMY C. HULTON,                                              CIVIL CASE NO.
     PLAINTIFF,

VS.

YALE NEW HAVEN HOSPITAL,INC.,
     DEFENDANT.                                             OCTOBER 2, 2017

                                         COMPLAINT

  I.       PRELIMINARY STATEMENT

  1. This action seeks declaratory, injunctive and equitable relief, compensatory and punitive

        damages, and costs and attorney fees for the discrimination suffered by the plaintiff when

        the defendant terminated the plaintiffs employment on account of the plaintiffs disability

        in violation ofthe provisions of the Americans With Disabilities Act and the provisions

        ofthe Connecticut Fair Employment Practices Act.

  II.      JURISDICTION

  2. This suit is brought and jurisdiction lies pursuant to Section 107(a) of the Americans

        With Disabilities Act (hereinafter "ADA"), Title 42 U.S.C. §12117, which incorporates

        by reference Section 706 of Title VII of the Civil Rights Act of 1964, as amended, Title

        42 U.S.C. §2000e-5.

  3. Jurisdiction over the plaintiff's federal claims is invoked pursuant to Title 28 U.S.C.

        §1343(a)(3), Title 28 U.S.C. §1343(a)(4), Title 29 U.S.C. §2617(a)(2), and Title 42

        U.S.C. §2000e-5(~.
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 4. The court possesses supplemental jurisdiction over the plaintiffs state law claims.

 5.   All conditions precedent to jurisdiction under Section 706 of Title VII ofthe Civil

      Rights Act of 1964, Title 42 U.S.C. §2000e-5(x(3), have occurred or have been complied

      with, and therefore jurisdiction likewise exists pursuant to Section 107a ofthe Americans

      With Disabilities Act, Title 42 U.S.C. §12117.

 6. A charge of employment discrimination on the basis of disability was filed on March 20,

      2017, with the State of Connecticut Commission on Human Rights and Opportunities,

      which filing was within 180 days ofthe commission ofthe unlawful employment practice

      alleged herein.

 7.   Simultaneous with the filing ofthe plaintiffs complaint with the State of Connecticut

      Commission on Human Rights and Opportunities, a charge of employment

      discrimination on the basis of disability was filed with the Equal Employment

      Opportunity Commission on or about March 20, 2017, which filing was within 180 days

      of the commission ofthe unlawful practice alleged herein.

 8.   On September 19, 2017, the Equal Employment Opportunity Commission issued to the

      plaintiff a "Dismissal and Notice of Rights," a copy of which is attached to this complaint

      and labeled Exhibit 1.

 9.   On September 13, 2017, the Connecticut Commission on Human Rights and

      Opportunities issued to the plaintiff a "Release of Jurisdiction", a copy of which is

      attached to this complaint, and designated as Exhibit 2.




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       10. Costs and attorney fees may be awarded pursuant to Title 42 U.S.C. §2000e-5(k) and

          Title 42 U.S.C. §1988.

       11. Declaratory, injunctive, and equitable relief is sought pursuant to Title 28 U.S.C. §2201,

          2202 and Title 42 U.S.C. §2000e-5(g).

       12. Compensatory damages are sought pursuant to Title 42 U.S.C. §1981a.

III.      VENUE

       13. This action properly lies in the District of Connecticut pursuant to Title 28 U.S.C.

          ~1391(b) because the claim arose in this judicial district, and pursuant to Title 42 U.S.C.

          §2000e-5(x(3), because the unlawful employment practices were committed in this

          judicial district.

IV.       PARTIES

       14. The plaintiff is a citizen ofthe United States and resides in New Haven, Connecticut.

       15. The plaintiff suffers from a disabling impairment, alcoholism, for which she has

          successfully received treatment.

       16. The defendant is a person within the meaning of Section 1 O 1 c of the Americans With

          Disabilities Act, Title 42 U.S.C. §12111(7).

       17. The defendant is an employer as that term is defined by Title 42 U.S.C. §12111(5) in

          that the defendant engages in an industry affecting commerce and has 15 or more

          employees for each working day in each of 20 or more calendar weeks in the current or

          preceding calendar year.




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 18. The defendant is a Connecticut non-stock corporation, having a principal place of

    business in New Haven, Connecticut.

 19. All the discriminatory employment practices alleged herein were committed within the

    State of Connecticut.

 20. The defendant is an employer within the meaning of Connecticut General Statutes § 46a

    — 51 (10).

 V. STATEMENT OF FACTS

 21. The defendant hired the plaintiff in 2002 to the position of Student Nurse.

 22. During the plaintiff's employment with the defendant, she advanced from Clinical Nurse

    to Clinical Nurse, and Clinical Nurse II.

 23. Prior to 2001, the plaintiff had been diagnosed as suffering from major depressive

    disorder, and alcoholism.

 24. In Apri12013, plaintiff voluntarily sought treatment for her alcoholism and depression at

    High Watch Recovery Center in Kent, Connecticut, a private inpatient facility.

 25. While in attendance at High Watch Recovery Center, the plaintiff requested, and was

    granted a medical leave of absence from the defendant.

 26. The plaintiff successfully completed aone-month inpatient treatment program at High

    Watch Recovery Center, and was referred by Dr. Arcuni (a psychiatrist at High Watch

    Recovery Center) to a Yale New Haven Hospital outpatient program of six weeks

    duration, which she successfully completed.
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 27. The plaintiff returned to her position with the defendant in July 2013, and during a

    meeting with her nurse manager and a human resource representative, voluntarily

    disclosed the reason for her medical leave.

 28. Although the information regarding her medical leave of absence was protected under

    the provisions ofthe Health Insurance Portability and Accountability Act of 1996

    (HIPAA),the plaintiff, in a desire to be open and forthright with the defendant,

    voluntarily disclosed the reason for her medical leave during a meeting with her nurse

    manager and a human resource representative.

 ~9. The defendant provided the plaintiff with a referral to a resource and support program,

    HAVEN.

 30. HAVEN is an independent non-profit corporation founded by the Connecticut State

     Medical Society, Connecticut Nurses Association, Connecticut State Dental Association,

    Connecticut Veterinary Medicine Association and Connecticut Academy of Physician

     Assistants that provides confidential consultation and support to healthcare professionals

    facing health concerns related to alcoholism, substance abuse, behavioral or mental

    health issues and/or physical illness.

 31. The plaintiff resumed her nursing duties while seeing a therapist and attending a group

    therapy once a week exclusively for healthcare professionals.

 32. The plaintiff also provided random urine drug and alcohol screens and attended AA

     meetings per the recommendations of HAVEN.




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 33. The plaintiff suffered a relapse late December 2013, and with the support of HAVEN,

    initiated a medical leave of absence from her employment with defendant.

 34. HAVEN recommended that the plaintiff enroll in a dual diagnosis outpatient program

    run by Yale New Haven Hospital.

 35. The plaintiff successfully completed this four-month program, then was referred to a

    four-month DBT program at same facility recommended by Dr. Hoffman.

 36. The plaintiff also completed the DBT program successfully.

 37. The plaintiff's medical leave from her employment with the defendant was unrelated to

    any employment related issues, for instance, she was not discovered drinking while at

    work, something which she never did, nor was she impaired or incapacitated in any

    manner while working.

 38. The plaintiff's alcoholism was confined to her off-duty, non-work related activities.

 39. Upon the expiration of the plaintiff's medical leave, the defendant terminated her

    employment.

 40. Although suffering a series ofrelapses while participating in the HAVEN rehabilitation

    program, the plaintiff's therapist, Richard A. Chernes, MS,LADC,on February 18, 2016,

    reported to the HAVEN program that the plaintiff was ready to safely return to her

    nursing duties.

 41. On or about April 6, 2016, the plaintiff's health care provider, Kristin Hale, APRN,of

    the Spectrum Psychiatric Group, apprised Haven that the plaintiff"presents as




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    cooperative, sober and with no cognitive impairment," and that she was safe to return to

     work in her profession.

 42. While under supervision and guidance from HAVEN,the plaintiff, on or about January

    29, 2015, agreed to an interim consent order with the State of Connecticut Department of

    Public Health in which she agreed to having her nursing license temporarily suspended.

 43. On or about September 21,2016, the State of Connecticut Department of Public Health

    and the plaintiff entered into a consent order in which the plaintiff's license to practice as

    a registered nurse was restored subject to a three-year probation period.

 44. Among the conditions of the probation licensure, the plaintiff"shall not administer,

    count, or have access to narcotics or other controlled substances, or have responsibility

    for such activities in the course of her nursing duties for the first three months after

    returning to work as a nurse."

 45. The plaintiff suffers from alcoholism for which she sought treatment in a continuing

    alcohol rehabilitation program supervised by HAVEN.

 46. The plaintiff's therapist, health care provider, and the State of Connecticut Department

    of Public Health have determined that the plaintiff is fit to practice as a registered nurse.

 47. Since June 26, 2015, the plaintiff has remained alcohol free.

 48. Since June of 2015, the plaintiff has attended in excess often AA meetings per month,

    as well as weekly individual sessions with a licensed addiction therapist and weekly

    group therapy with other healthcare professionals.




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 49. The plaintiff also sees Kristen Hale, a psychiatric APRN,for medication management.

 50. As a recovering alcoholic, the plaintiff qualifies as an individual with a disability under

     the provisions of the Americans with Disabilities Act and the Connecticut Fair

     Employment Practices Act.

 51. Prior alcohol abuse is a recognized disability for purposes of the Americans with

     Disabilities Act and the Connecticut Fair Employment Practices Act.

 52. In spite of her disability, the plaintiff is able to perform the essential functions of her

     position, with an accommodation regarding administering, counting, or having access to

     narcotics or other controlled substances, or having responsibility for such activities in the

     course of her nursing duties for the first three months after returning to work as a nurse.

 53. Between on or about December 18, 2016, and February 22, 2017, the plaintiff submitted

     online applications to the defendant for at least twelve nursing positions for which she

     was qualified.

 54. Without explanation, the defendant informed the plaintiff that it was not considering her

    for employment in any of the positions to which she had submitted applications.

 55. On or about October 13, 2016, and again on December 22, 2016, the plaintiff's counsel

    inquired through letters sent to the defendant's human resources personnel, of the steps

    the plaintiff must take to resume her employment at Yale New Haven Hospital.

 56. The defendant completely ignored the plaintiff's counsel's inquiries.
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   57. During her previous employment with the defendant, the plaintiff's performance

       evaluations demonstrated that she had capably performed the duties and responsibilities

       of every position in which she was employed by the defendant.

   58. The defendant refused to hire the plaintiff to any of the positions for which she applied

       on account of her disability.

   59. The defendant refused to hire the plaintiff because it regarded her as being disabled.

   60. The plaintiff is capable of performing the essential functions of the positions for which

       she has submitted applications to the defendant for employment.

   61. Although the plaintiff's condition impacts on her major life activities, including work,

       she is able and would be able to perform the essential functions of the jobs to which she

       applied to the respondent if reasonably accommodated by the defendant.

   VI.FIRST CAUSE OF ACTION (VIOLATION OF THE AMERICANS WITH
      DISABILITIES ACT)

62-122.   Paragraphs 1 through 61 are hereby made paragraphs 62 through 122 of this, the First

          Cause of Action.

123.   The plaintiff is a qualified individual with a disability within the meaning of Section

       101(8) of the Americans With Disabilities Act, Title 42 U.S.C. §12111(8), in that the

       plaintiff is an individual with a disability who, with a reasonable accommodation, is

       capable of performing the essential functions of the nursing positions to which the

       plaintiff made application to the defendant.
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124.   The defendant refused to hire the plaintiff to any of the nursing positions to which the

       plaintiff applied because of the plaintiffs affliction with a physical and/or mental

       disability, alcoholism.

125.   The plaintiff's affliction with a physical and/or mental disability, alcoholism,

       substantially limits one or more of the plaintiff's major life activities such as working,

       walking, standing, and thinking.

126.   The defendant refused to hire the plaintiff to any of the positions to which the plaintiff

       applied because the defendant regarded the plaintiff as suffering from a physical and/or

       mental disability, alcoholism.

127.   The defendant refused to hire the plaintiff to any of the positions to which the plaintiff

       applied because the plaintiff had a record of suffering from a physical and/or mental

       disability, alcoholism.

128.   The defendant's refusal to employ the plaintiff to the nursing positions to which she

       applied because of her alcoholism is a discriminatory act prohibited by Section 102(a) of

       the Americans With Disabilities Act, Title 42 U.S.C. §12112(a).

129.   The defendant's refusal to employ the plaintiff to the nursing positions to which she

       applied because it regarded her as suffering from a physical and/or mental impairment,

       alcoholism, is a discriminatory act prohibited by Section 102(a) of the Americans With

       Disabilities Act, Title 42 U.S.C. §12112(a).




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130.   The defendant's refusal to employ the plaintiff to the nursing positions to which she

       applied because of her alcoholism is a discriminatory act prohibited by Section 102(a) of

       the Americans With Disabilities Act, Title 42 U.S.C. §12112(a).

131.   The defendant violated the provisions of the Americans with Disabilities Act, Title 42

       U.S.C. 12101 et seq., by refusing to enter into a discourse regarding the accommodation

       needed by the plaintiff, by not providing the plaintiff with reasonable accommodation

       and by refusing to employer her in the nursing positions to which she applied.

132.   As a result of her physical and/or mental impairment, alcoholism, the plaintiff is

       substantially limited in carrying on major life activities including working, walking,

       standing, and thinking.

133.   The plaintiff is an individual with a disability within the meaning of Section 3(2) of the

       Americans With Disabilities Act, Title 42 U.S.C. §12102(2).

134.   The defendant was aware of the plaintiff's physical and/or mental impairment,

       alcoholism, when it refused to hire her to the nursing positions to which she had applied.

135.   The plaintiff has a record of being a recovering alcoholic, and the defendant had

       knowledge of the plaintiffs condition when it refused to hire her to the nursing positions

       to which she had applied.

136.   The plaintiff was regarded by the defendant as suffering from a physical and/or mental

       impairment, alcoholism.




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137.   The plaintiff is a qualified individual with a disability as that term is defined under the

       provisions ofthe Americans with Disabilities Act.

138.   The plaintiff suffers from a physical and/or mental impairment, alcoholism, that

       substantially limits her major life activities including working, standing, walking, and

       thinking.

139.   Although the plaintiff's condition impacts on her major life activities, including working,

       standing, walking, and thinking, she is able and would be able to perform the essential

       functions of the nursing jobs to which she applied if reasonably accommodated by the

       defendant.

140.   The plaintiff was fully qualified to perform the essential functions of the nursing

       positions to which she had applied if reasonably accommodated by the defendant.

141.   The accommodation sought by plaintiff was limited to a three-month period, during

       which time the defendant would excuse the plaintiff from having to administer, count, or

       have access to narcotics or other controlled substances, or have responsibility for such

       activities in the course of her nursing duties.

142.   The defendant discriminated against the plaintiff with malice and with a reckless

       indifference to the federally protected rights of the plaintiff guaranteed to the plaintiff by

       the provisions ofthe Americans With Disabilities Act.




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143.   The defendant violated the provisions of Americans with Disabilities Act, Title 42 U.S.C.

       12101 et seq., because it discriminated against the plaintiff because it regarded the

       plaintiff as being disabled.

144.   The defendant violated the provisions of Americans with Disabilities Act, Title 42 U.S.C.

       12101 et seq., because it discriminated against the plaintiff because she had a record of

       suffering from a disability.

145.   The defendant's refusal to employ the plaintiff because of her alcoholism to the nursing

       positions to which she had applied has caused, continues to cause and will cause the

       plaintiff to suffer substantial damages for future pecuniary losses, mental anguish, loss of

       enjoyment of life and other non-pecuniary losses.

146.   The defendant's refusal to employ the plaintiff because of her alcoholism to the nursing

       positions to which she had applied has caused, continues to cause and will cause plaintiff

       irreparable harm through her loss of such gainful employment and through her loss of the

       employment benefits, including group health insurance.

147.   The defendant, by refusing to employ the plaintiff on account of the plaintiff's disability

       to the nursing positions to which she had applied, has caused the plaintiff to suffer

       emotional distress.

   VII. SECOND CAUSE OF ACTION(VIOLATION OF THE CONNECTICUT
      FAIR EMPLOYMENT PRACTICES ACT)

148-208.      Paragraphs 1 through 61 are incorporated herein as paragraphs 148 through 208.




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     209.   The defendant discriminated against the plaintiff with malice and with a reckless

               indifference to the state protected rights ofthe plaintiff.

     210.      Connecticut General Statutes § 46a-59(10) defines "employer" as any person

               or employer with three or more persons in his employ".

     211.      Connecticut General Statutes § 46a-59(15) defines "[p]hysically disabled" as

               "any individual who has any chronic physical handicap, infirmity or

               impairment, whether congenital or resulting from bodily injury, organic

               processes or changes or from illness, including, but not limited to, epilepsy,

               deafness or hearing impairment or reliance on a wheelchair or other remedial

               appliance or device."

     212.      Connecticut General Statutes § 46a-59(15) defines "[m]ental disability" as"an

               individual who has a record of, or is regarded as having one or more mental

               disorders, as defined in the most recent edition ofthe American Psychiatric

               Association's "Diagnostic and Statistical Manual of Mental Disorders."

     213.      Connecticut General Statutes Section § 46a-60(a)(1) prohibits "an employer,

               by himself or his agent, except in the case of a bona fide occupational

               qualification or need, to refuse to hire or employ or to bar or to discharge from

               employment any individual or to discriminate against him in compensation or

               in terms, conditions or privileges of employment because of the individual's

               race, color, religious creed, age, sex, marital status, national origin, ancestry,




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               present or past history of mental disorder, mental retardation, learning

               disability or physical disability, including, but not limited to, blindness."

     214.      The plaintiff is "physically disabled" as that term is defined by Connecticut

               General Statutes § 46a-59(15).

     215.      The plaintiff suffers from a mental disability as that term is defined by

               Connecticut General Statutes § 46a-59(20).

     216.   The defendant's refusal to employ the plaintiff to the positions to which she

               applied because of her alcoholism is a discriminatory act prohibited by the

               provisions ofthe Connecticut Fair Employment Practices Act.

     217.      The defendant's refusal to employ the plaintiff to the positions to which she

               applied because of her alcoholism has caused, continues to cause and will

               cause the plaintiff to suffer substantial damages for future pecuniary losses,

               mental anguish, loss of enjoyment of life and other non-pecuniary losses.

     218.      The defendant's refusal to employ the plaintiff to the positions to which she

               applied because of her alcoholism has caused, continues to cause and will

               cause plaintiff irreparable harm through his loss of such gainful employment

               and through his loss of the employment benefits, including group health

               insurance, that the plaintiff would have attained through his continued

               employment with the defendant.




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     219.   The defendant, by refusing to employ the plaintiff on account of the plaintiff's

                disability to the nursing positions to which she had applied, has caused the

                plaintiff to suffer emotional distress.

     220.   The plaintiff is qualified for, and is capable of performing, with a reasonable

                accommodation, the essential functions of the nursing positions for which she

                has submitted applications to the defendant for employment



  VIII.     PRAYER FOR RELIEF

     WHEREFORE,THE PLAINTIFF PRAYS THAT THIS COURT:

          1.(As to the First Cause of Action)

             a. declare the conduct engaged by the defendant to be a violation ofthe

                plaintiffs rights guaranteed to him by the Americans With Disabilities Act;

             b. enjoin the defendant from engaging in such conduct;

             c. award the plaintiff equitable relief in the form of back salary and fringe

                benefits, plus interest as allowed by law until paid in full, together with front

                salary and benefits accrual;

             d. award the plaintiff compensatory and punitive damages;

             e. award the plaintiff costs and attorney fees; and

             f. grant such other and further relief as the Court may deem just and proper.
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         2.(As to the Second Cause of Action)

     a. declare the conduct engaged by the defendant to be in violation of the plaintiffs rights

        guaranteed to him by the Connecticut Fair Employment Practices Act;

     b. enjoin the defendant from engaging in such conduct;

     c. award the plaintiff equitable relief in the form of back pay and loss of employment

        benefits, plus interest as allowed by law until paid in full, together with front salary

        and benefits accrual;

     d. award the plaintiff compensatory and punitive damages;

     e. award the plaintiff costs and attorney fees; and

     f. grant such other and further relief as the Court may deem just and proper.



  IX.JURY DEMAND

     THE PLAINTIFF REQUESTS A TRIAL BY JURY.

                                   THE PLAINTIFF —AMY C. HULTON



                                   BY/s/ Thomas W.Bucci
                                   Thomas W.Bucci
                                   Fed. Bar #ct07805
                                   WILLINGER, WILLINGER & BUCCI,P.C.
                                   855 Main Street
                                   Bridgeport, CT 06604
                                   Tel:(203)366-3939
                                   Fax:(203) 337-4588
                                   Email: thomaswbucci@outlook.com




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                                                                                     Q
                        Case 3:17-cv-01649-MPS Document 1 Filed 10/02/17 Page 18 of 19                                       EXHIBIT
                                                                                     c~                               w

EEOC Form 161 (11/16)                      U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                                                                                                      J
                                                                                                                      J


                                                   DISMISSAL AND NOTICE OF RIGHTS
ro:    qmy C. Hulton                                                                   From: Boston Area Office
       93 Orange Street Apt 506                                                              John F. Kennedy Fed Bldg
       New Haven, CT 06510                                                                   Government Ctr, Room 475
                                                                                             Boston, MA 02203


                               On behalf of persons) aggrieved whose identify is
                               CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No.                                   EEOC Representative                                                Telephone No.

                                                  Amon L. Kinsey, Jr.,
16A-2017-00946                                    Supervisory Investigator                                           (617)565-3189

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
                 The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

                 Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

   a             The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

                                                                                                                                          alleged
   0             Your charge was not timely filed with EEOC; in other words, you waited too long after the dates) of the
                               to
                 discrimination file  your charge
                                                                                                                                         that the
   Q             The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude                   with
                 information obtained  establishes violations of the statutes. This does  not certify that the respondent  is in compliance
                                                                                     be construed   as having  been raised  by this charge.
                 the statutes. No finding is made as to any other issues that might.
                                                                                                                                 this charge.
       a         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated

                                                     Charging Party is pursuing claims in another forum.
       Q         Other (briefly state)


                                                              NOTICE OF SUIT RIGHTS -
                                                     (See the additional information attached to Phis form.)
                                                                                                              or the Age
Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act,
Discrimination in Employment Act: This will be the only notice         of dismissal and   of your  right to sue that we will send you.
                                                            federal law  based  on this charge    in federal or state  court. Your
You may file a lawsuit against the respondents) under
                                                 your  receipt of this notice; or your  right to sue  based  on  this charge  will be
lawsuit must be filed WITHIN 90 DAYS of
lost. (The time limit for filing suit based on a claim under state law may  be different.)

                                                                                                         violations) of the
Equal Pay Act(EPA): EPA suits must be filed in federal or state court within 2 years(3 years for willful
                                                                               that occurred  more   than  2 years (3 years)
alleged EPA underpayment. This means that backpay due for any violations
before you file suit may not be collectible.
                                             r          _
                                                     On behalfof the~ommis~iorii` ~°,


 Enclosures(s)                                                                                                               (Date Mailed)
                                                                       Feng . An,
                                                                    Area Office Director
 cc:                    ....


            YALE NEW HAVEN HOSPITAL                                                     Thomas W.Bucci, Esq.
            20 York Street Ct 230.                                                      Willinger, Willinger & Bucci, P.C.
            New Haven, CT 06510                                                         855 Main Street
                                                                                        Bridgeport, CT 06604
           Case 3:17-cv-01649-MPS Document 1 Filed 10/02/17 Page 19 of 19                                   EXHIBIT
                                                                                                      W
                                                                                                      J
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                                                                                                      Q



                         STATE OF CONNECTICUT
             COMMISSION ON HUMAN RIGHTS AND OPPORTUNITIES


Amv Hulton
COMPLAINANT
                                                                    CHRO No. 173p520
vs.                                                                 EEOC No. 16A201700946

Yale New Haven Hospital
RESPONDENT

                                      RELEASE OF JURISDICTIpN

The Commission on Human Rights and Opportunities hereby releases its jurisdiction over the above-identified
complaint. The Complainant is authorized to commence a civil action in accordance with CONK. GEN.
STAT. § 46a-100 against the Respondent in the Superior Court for the judicial district in which the
discriminatory practice is alleged to have occurred, in which the Respondent transacts business or in which
the Complainant resides. It'this action involves a state agency or official, it may be brought in the Superior Court
forthejudicial district of Hartford.

A copy ofany civil action brought pursuant to this release must be served on the Commission at ROJ ct. ov or
at 450 Columbus Blvd., Suite 2, Hartford, CT 06103 at the sane rime all other parties are served. Electronic
service is preferred. THE COMMISSION MiJST BE SERVED BECAUSE IT HAS A RIGHT TO
INTERVENE IN ANY ACTION BASED ON A RELEASE OF JURISDICTION PURSUANT
TO CONK.GEN.STAT. §46a-103._

The Complainant must bring an action in Superior Court within 90 days ofreceipt ofthis release and within two
years of the date of filingthe complaint with the Commission unless circumstances tolling the statute
of limitations are present.




DATE: September 13, 2017                                Tanya A. Hughes, Executive Director


Service:
Complainant: Amy Hulton — sweetheart06515~a,vahoo.com
Complainant's attorney: Thomas W.Bucci — tbucci e,wwblaw.com
Respondent's attorney: Yale New Haven Hospital — susan.wrieht2 ~vnhh.org
